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                                 UNITED STATES DISTRICT COURT                                J S -6
                                CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL
   No.            2:20-cv-08025-ODW (AFMx)                                  Date   September 17, 2021
   Title          Frank Capobianco v. Westlake Services LLC



   Present: The Honorable        Otis D. Wright, II, United States District Judge
                Sheila English                              Not reported                           N/A
                 Deputy Clerk                       Court Reporter / Recorder                    Tape No.
            Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      Not present                                             Not present
   Proceedings (In Chambers):

     The Court received and reviewed counsels’ declarations. (ECF Nos. 27, 29.) The Court’s
September 14, 2021 Minute Order is hereby DISCHARGED.

       Pursuant to the parties’ Joint Stipulation of Dismissal (ECF No. 28) and Federal Rule of
Civil Procedure 41(a)(1)(A)(ii), IT IS HEREBY ORDERED that:

         1.     The entire action and all claims asserted therein are hereby DISMISSED WITH
                PREJUDICE; and

         2.     All dates and deadlines in this action are VACATED and taken off calendar.

         The Clerk of the Court shall close this case.

         IT IS SO ORDERED.

                                                                                       :    00
                                                     Initials of Preparer   SE




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